12-23649-shl       Doc 24       Filed 02/26/13       Entered 02/26/13 15:33:06   Main Document
                                                    Pg 1 of 2


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In Re
                                                                       Bankruptcy No. 12-23649
DEBRA P. MARIN,                                                        Chapter 13

                                             Debtors.
---------------------------------------------------------------X

                  OPPOSITION TO THE TRUSTEE’S MOTION TO DISMISS


        The Opposition of Debra P. Marin, (hereinafter the “Debtor”) acting by and through her

attorneys, Clair & Gjertsen, Esqs. respectfully represent:


    1. On or about September 17, 2012, the Debtor commenced her case by filing a voluntary

        petition for relief under Chapter 13, Title 11 of the United States Bankruptcy Code.

    2. The Proof of Claims bar date was January 10, 2013. There were two claims, one secured

        claim in the amount of $238,392.21 and the other a claim for $253,307.91 which was

        bizarrely bifurcated by the Creditor, thereby making a claim of $150,000.00 of that

        amount as secured.

    3. The Debtor’s Chapter 13 plan was filed on September 28, 2012, which calls for payments

        to the Trustee in the amount of $675.00 per month for 5 years for a total of $40,500.00.

    4. As disclosed at the 341 Meeting of Creditors, Debtor’s Chapter 13 plan is to be a 100

        percent plan. Therefore, real estate appraisals are not required.

    5. Additionally, Trustee’s affidavit states that Loss Mitigation has been terminated.

        However, there has been no request for Loss Mitigation by the Debtor nor any Order for

        Loss Mitigation signed by the Court.

    6. Finally, due to substantial issues with the Proof of Claim filed by the Estate of Ana

        Beatriz Marin, Debtor is preparing an Objection to the Proof of Claim. The basis of the
12-23649-shl    Doc 24    Filed 02/26/13     Entered 02/26/13 15:33:06        Main Document
                                            Pg 2 of 2


      objection includes issues with the amount claimed as pre-petition arrears as well the

      amount sought for attorneys’ fees and the Creditor’s bifurcation of the debt.

   7. Once the issues regarding the Estates proof of claim are resolved, debtor shall revise any

      schedules and the Plan as appropriate.

   8. Upon information and belief, the Debtor is current with the Trustee and current with her

      post-petition payments to Creditor Estate of Ana Beatriz Marin.



      WHEREFORE, it is respectfully request that that the Trustee’s Motion to Dismiss be

      denied.


      Dated: Scarsdale, NY                          CLAIR & GJERTSEN, ESQS.
             February 26, 2013

                                                    _/s/_________________________
                                                    Patricia M. Lattanzio
                                                    Attorneys for the Debtor
                                                    720 White Plains Road, Suite 381
                                                    Scarsdale, NY 10583
                                                    (914) 472-6202
